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                       IN THE UNITED STATES DISTRICT COURT

                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                  :          CRIMINAL NO. 24-84

               v.                         :          DATE FILED:

MATTHEW GABRIEL                           :          VIOLATION:
                                                     18 U.S.C. § 875(c) (Transmitting Threats
                                          :          in Interstate and Foreign Commerce - 2
                                                     counts)

                               SUPERSEDING INFORMATION

                                          COUNT ONE

THE UNITED STATES ATTORNEY CHARGES THAT:

           On or about August 3, 2023, in the Eastern District of Pennsylvania, defendant

                                     MATTHEW GABRIEL

knowingly, and with the knowledge that the communication would be viewed as a threat and for

the purpose of issuing a threat, transmitted in interstate and foreign commerce a communication,

that is, using the internet from his cellular phone, the defendant transmitted a threat concerning a

mass shooting attack to the Norwegian Police Security.

           In violation of Title 18, United States Code, Section 875(c).
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                                          COUNT TWO

           On or about March 22, 2024, in the Eastern District of Pennsylvania, defendant

                                     MATTHEW GABRIEL

knowingly, and with the knowledge that the communication would be viewed as a threat and for

the purpose of issuing a threat, transmitted in interstate and foreign commerce a communication,

that is, using the internet, the defendant transmitted a threat concerning explosives at the

University of Iowa.

           In violation of Title 18, United States Code, Section 875(c).




                                                      JACQUELINE C. ROMERO
                                                      UNITED STATES ATTORNEY
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                                     No._ _ _ _ _ _ _ _ _ _
                        UNITED STATES DISTRICT COURT

                                Eastern District of Pennsylvania

                                           Criminal Division

                    THE UNITED STATES OF AMERICA
                                                              vs.

                                            MATTHEW GABRIEL

                              SUPERSEDING INFORMATION

                                       Counts
18 U.S.C.§ 875(c) - (Transmitting Threats in Interstate and Foreign Commerce – 2 counts)

                                                    A true bill.

                             _____________________________________________________________________
                                                   Foreperson
                  Filed in open court this _________________________________day,
                        Of ________________________A.D. 20_____________
                   __________________________________________________________________________________________
                                                   Foreperson
                                        Bail, $___________________________
